Case 1:22-cv-00225-PTG-WEF Document 37-6 Filed 06/01/22 Page 1 of 3 PagelD# 866

Steve Stimson

 

 

From: agt_comm@irth.com

Sent: Wednesday, July 21, 2021 10:55 AM

To: Steve Stimson

Subject: [EXTERNAL] Seq# 2: AXXXXXXXX for CGT901 - TCO-VA
Attachments: Digsite.txt

EXTERNAL EMAIL: PROCEED WITH CAUTION.
This e-mail has originated from outside of the organization. Do not respond, click on links or apen attachments unless
you recognize the sender or know the content is safe. If this email looks suspicious, report it.

CGT901 00003 VUPSa 08/23/20 16:16:12 AXXXXXXXX-00A NORMAL

Ticket No: AQ23600141-00A NEW GRID NORM LREQ
Transmit Date: 08/23/20 Time: 04:16 PM Op: PSTAR

Call Date: 08/23/20 Time: 04:15 PM

Due By Date: 08/27/20 Time: 07:00 AM

Update By Date: 09/11/20 Time: 11:59 PM

Expires Date: 09/16/20 Time: 07:00 AM

Old Tkt No: AXXXXXXXX

Original Call Date: 08/23/20 Time: 04:15 PM Op: PSTAR

City/Co:LOUDOUN Place: State: VA
Address: 22669 Street: WATSON RD

Type of Work: SEPTIC TANK OR DRAIN FIELD - PERC TESTING/LOCATING

Work Done For: SAME

Excavation area:LOCATE ENTIRE PROPERTY; PLEASE USE PAINT AND FLAGS IF AVAILABLE; Excavation Map Link:
https://urldefense.proofpoint.com/v2/url?u=http-3A__newtin.vups.org_newtinweb_map-5Ftkt.nap-3FTRG-
3D26w0z2zvyv2p2mBkim&d=DwlFaQ&c=Q5SXIsxPryShfyrkNJViwkWBHuTWASXd1LyNpDogBFY&r=2FSAjFjkUvwqpZmuA
fLib7spzdACFWvOSxakOTbiwb0&m=yCosBPWiy-imqAsvfshwoP_dJGVRoMASygCADfKU9d0&s=7 baHWBx3UM 2frw-
ktuJFSI4AY_ZURBOOhneX1YHVpe8&e=

Instructions:
Whitelined: N Blasting: N Boring: N

Company: DAVID SHARIFI Type: OWNR

Co. Address: 22669 WATSON RD First Time: N

City: LOUDOUN State:VA Zip:20175

Company Phone: 703-598-9745

Contact Name: DAVID SHARIFI Contact Phone:703-598-9745
Email: DAVID@KLINEDEVELOPMENT.COM

Grids: 3859B7735A 3859C7735A 3859B7736D 3859C7736D
EXHIBIT

Members: 3 p
ae iQ

 
Case 1:22-cv-00225-PTG-WEF Document 37-6 Filed 06/01/22 Page 2 of 3 PagelD# 867

Steve Stimson

 

a
From: agt_comm@irth.com
Sent: Wednesday, July 21, 2021 10:54 AM
To: Steve Stimson
Subject: [EXTERNAL] Seq# 1: 4023600129 for CGT901 - TCO-VA
Attachments: Digsite.txt

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CGT901 00002 VUPSa 08/23/20 15:12:28 AXXXXXXXX-00A NORMAL

Ticket No: AXXXXXXXX-00A NEW GRID NORM LREQ
Transmit Date: 08/23/20 Time: 03:12 PM Op: PSTAR

Call Date: 08/23/20 Time: 03:12 PM

Due By Date: 08/27/20 Time: 07:00 AM

Update By Date: 09/11/20 Time: 11:59 PM

Expires Date: 09/16/20 Time: 07:00 AM

Old Tkt No: AXXXXXXXX

Original Call Date: 08/23/20 Time: 03:12 PM Op: PSTAR

City/Co:LOUDOUN Place: State:VA
Address: 22669 Street: WATSON RD

Type of Work: SEPTIC TANK OR DRAIN FIELD - PERC TESTING/LOCATING

Work Done For: SAME

Excavation area:LOCATE ENTIRE PROPERTY;

Excavation Map Link: https://urldefense.proofpoint.com/v2/url?u=http-3A__newtin.vups.org_newtinweb_map-
5Ftkt.nap-3FTRG-

3D24y2x04q1s4vuu lutu&d=DwiFaQ&c=Q5SXlsxPryShfyrkNJViwkWBHuTWASXd1LyNpDogBFY &r=2FSAjFjkUvwqpZmuAfL
ib7spzdACFWvOSxakOT biwb0&m=BiYT8wvrFrfQvxBiPwORyaCOROOsB3H6a8onTkF14MY&s=qYaveOtot7EImgXAVFJQXP
Ods4EXfcFwhgl4JOEZ_M&e=

Instructions:
Whitelined: N Blasting: N Boring: N

Company: KEN WALIZADA Type: OWNR

Co. Address: 22669 WATSON RD First Time: N

City: LOUDOUN State:VA Zip:20175

Company Phone: 703-598-9745

Contact Name: KEN WALIZADA Contact Phone:703-598-9745
Email: DAVID@KLINEDEVELOPEMENT.COM

Mapbook: 5399D2
Grids: 3859B7735A 3859C7735A 3859B7736D 3859C7736D
Case 1:22-cv-00225-PTG-WEF Document 37-6 Filed 06/01/22 Page 3 of 3 PagelD# 868

Steve Stimson

From: agt_comm@irth.com

Sent: Wednesday, July 21, 2021 10:55 AM

To: Steve Stimson

Subject: [EXTERNAL] Seq# 3: AXXXXXXXX for CGT901 - TCO-VA
Attachments: Digsite.txt

EXTERNAL EMAIL: PROCEED WITH CAUTION.
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you recognize the sender or know the content is safe. If this email looks suspicious, report it.

CGT901 00019 VUPSa 08/26/20 16:48:42 AXXXXXXXX-00A NORMAL

Ticket No: AXXXXXXXX-00A NEW GRID NORM LREQ
Transmit Date: 08/26/20 Time: 04:48 PM Op: PSTAR

Call Date: 08/26/20 Time: 04:48 PM

Due By Date: 08/31/20 Time: 07:00 AM

Update By Date: 09/15/20 Time: 11:59 PM

Expires Date: 09/18/20 Time: 07:00 AM

Old Tkt No: AXXXXXXXX

Original Call Date: 08/26/20 Time: 04:48 PM Op: PSTAR

City/Co:LOUDOUN Place: State:VA
Address: 22669 Street: WATSON RD

Type of Work: SEPTIC TANK OR DRAIN FIELD - PERC TESTING/LOCATING

Work Done For: KLINE DEVELOPMENT

Excavation area:LOCATE ENTIRE PROPERTY; PLEASE USE PAINT AND FLAGS IF AVAILABLE; Excavation Map Link:
https://urldefense.proofpoint.com/v2/url?u=http-3A__newtin.vups.org_newtinweb_map-5Ftkt.nap-3FTRG-
3D5Cy5yx606s2qzt7o0z0&d=DwiFaQ&c=Q5SXlsxPryShfyrkNJViwkWBHuTWASXd1LyNpDogBFY&r=2FSAjFjkUvwqpZmuATrLi
b7spzdACFWvOSxakOTbiwbO0&m=P 1LWTXQbI4bMlOVnjBLaJp3WfAhppGamfjtzUOAGvcc&s=Y5pfsSxcSNgu2KRjfHLON7nc7
1jL2qRWyQi5c4GrkjU&e=

Instructions:
Whitelined: N Blasting: N Boring: N

Company: ENVIRONMENTAL SYSTEMS CONSULTING LLC Type: CONT
Co. Address: PO BOX 574 First Time: N

City: WARRENTON State:VA Zip:20188

Company Phone: 540-272-3892

Contact Name: PAMELA PRUETT Contact Phone:540-272-3892
Email: PAMELAMPRUETT@OUTLOOK.COM

Mapbook: 5399D2

Grids: 3859B7735A 3859C7735A 3859B7736D 3859C7736D

Members:
